Case: 7:07-cr-00034-GFVT-EBA             Doc #: 740 Filed: 08/19/10            Page: 1 of 2 - Page
                                           ID#: 2076



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                             SOUTHERN DIVISION at PIKEVILLE

CRIMINAL ACTION NO. 07-34-GFVT-18


UNITED STATES OF AMERICA,                                                               PLAINTIFF,


V.                            MAGISTRATE JUDGE’S REPORT
                                 & RECOMMENDATION


KENNY DARRYL HAMILTON,                                                               DEFENDANT.


       Defendant, Kenny Darryl Hamilton, brings this action pursuant to 28 U.S.C. § 2255, seeking

to vacate, set aside, or correct his sentence. [R.669]. Consistent with local practice, this matter is

before the undersigned for preparation of a report and recommendation pursuant to 28 U.S.C. §

636(b)(1)(B).

       The Defendant filed a Motion to Vacate, Set Aside, or Correct Sentence [R. 669], requesting

that the Court find that the United States had violated the plea agreement by failing to file a Rule

35(b) motion. The United States subsequently filed such a motion, and moved to dismiss the

Defendant’s § 2255 as moot. [R. 697]. The Court has granted the United States’ motion, and has

entered an amended judgment reflecting the reduced sentence. [R. 739]. The Defendant admits that

the issues presented in his § 2255 petition are now moot. [See R. 712 at 2].

       Accordingly, and for the reasons set forth above, it is RECOMMENDED AS FOLLOWS:

       (1)      The Defendant’s Motion to Vacate, Set Aside, or Correct Sentence [R. 669] be

                DENIED AS MOOT;

       (2)      The United States’ Motion to Dismiss [R. 697] be GRANTED.
Case: 7:07-cr-00034-GFVT-EBA             Doc #: 740 Filed: 08/19/10          Page: 2 of 2 - Page
                                           ID#: 2077



       Specific objections to this Report and Recommendation must be filed within fourteen (14)

days from the date of service thereof or further appeal is waived. United States v. Campbell, 261

F.3d 628, 632 (6th Cir. 2001); Bituminous Cas. Corp. v. Combs Contracting Inc., 236 F. Supp. 2d

737, 749-750 (E.D. Ky. 2002). General objections or objections that require a judge’s interpretation

are insufficient to preserve the right to appeal. Cowherd v. Million, 380 F.3d 909, 912 (6th Cir.

2004); Miller v. Currie, 50 F.3d 373, 380 (6th Cir. 1995). A party may file a response to another

party's objections within fourteen (14) days after being served with a copy thereof. 28 U.S.C. §

636(b)(1)(C); Fed. R. Crim. P. 59(a).

       Signed August 19, 2010.




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